Case: 4:16-cr-00159-AGF Doc. #: 206 Filed: 04/26/18 Page: 1 of 3 PageID #: 2122



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
v.                                            ) No. S1-4:16 CR00159 AGF
                                              )
Loren Allen Copp,                             )
       a/k/a “Sensei,”                        )
                                              )
               Defendant.                     )

     GOVERNMENT’S MOTION TO SEAL GOVERNMENT’S TRIAL EXHIBITS

       Comes now the United States of America, by and through its attorneys, by Jeffrey B.

Jensen, United States Attorney for the Eastern District of Missouri, Jennifer A. Winfield and

Colleen C. Lang, Assistant United States Attorneys for said District, moves to seal the

Government’s Exhibits that were introduced by the Government at trial. The exhibits were

admitted by the Court and are listed in Government’s Exhibit List, Doc. #200. The Government

alleges that many of these exhibits contain images or videos of child pornography and request

that they be sealed. The exhibits that include child pornography are intertwined with other

evidence admitted at trial so the Government is requesting that all exhibits being sealed.

                                                     Respectfully submitted,

                                                     JEFFREY B. JENSEN
                                                     United States Attorney

                                                      /s/ Jennifer A. Winfield
                                                     JENNIFER A. WINFIELD, #53350MO
                                                     Assistant United States Attorney
Case: 4:16-cr-00159-AGF Doc. #: 206 Filed: 04/26/18 Page: 2 of 3 PageID #: 2123



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
v.                                           ) No. S1-4:16 CR00159 AGF
                                             )
Loren Allen Copp,                            )
       a/k/a “Sensei,”                       )
                                             )
               Defendant.                    )

                                            ORDER

       Before the Court is the Government’s motion for sealing Government’s Trial Exhibits as

listed in the Government’s Final Exhibit List, Doc. #200.

       In accordance with Title 18 U.S.C.A. Section 3509(m)(1), “[i]n any criminal proceeding,

any property or material that constitutes child pornography (as defined by section 2256 of this

title) shall remain in the care, custody, and control of either the Government or the court.” Upon

consideration of the motion, and for the reasons stated therein and pursuant to Fed. R. Crim. P.

16(d)(1),

IT IS HEREBY ORDERED that the Government’s Exhibits be sealed.



                                              ______________________________
                                              Audrey G. Fleissig
                                              United States District Court Judge



Dated this       day of __________, 2018.




                                                2
Case: 4:16-cr-00159-AGF Doc. #: 206 Filed: 04/26/18 Page: 3 of 3 PageID #: 2124



                                CERTIFICATE OF SERVICE
       I hereby certify that on April 26, 2018, the attached was filed electronically with the
Clerk of the Court and served by way of this Court's Electronic Notification System upon all
counsel of record, and mailed to defendant Loren Copp at the St. Charles County Adult
Detention Center, 301 N. Second Street, St. Charles, MO 63301.


                                                      /s/ Jennifer A. Winfield
                                                     JENNIFER A. WINFIELD, #53350MO
                                                     Assistant United States Attorney
